                               United States Court of Appeals
                                     For The Eighth Circuit
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                                                                                www.ca8.uscourts.gov

                                                            June 30, 2023




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       RE: 23-2564 USA ex rel. Elizabeth Holt v. Medicare Medicaid Advisors, et al

Dear Counsel:

        The district court clerk has transmitted a notice of appeal and docket entries in this
matter, and we have docketed them under the caption and case number shown above. Please
include the caption and the case number on all correspondence or pleadings submitted to this
court.

      Counsel in the case must supply the clerk with an Appearance Form. Counsel may
download or fill out an Appearance Form on the "Forms" page on our web site at
www.ca8.uscourts.gov.

        The court has established a briefing schedule for the case, a copy of which will be
forwarded under separate notice of docket activity. Please refer to the schedule and note the key
filing dates. You should also review Federal Rules of Appellate Procedure 28 and 32, as well as
Eighth Circuit Rules 28A and 32A. Sample briefs may be obtained by contacting the St. Louis
Clerk's office.

        Within 14 days of today's date, counsel for appellant must: (1) file a verification that any
transcripts needed for the appeal have been ordered and that satisfactory arrangements have been
made for payment, and (2) file a notice of the method of appendix preparation selected for the
case. Eighth Circuit Rule 30A contains detailed information on appendix preparation.




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        The court has directed the clerk's office to monitor and enforce compliance with the
briefing schedule. Failure to file your brief will result in issuance of a show cause order and may
lead to dismissal of the appeal. Requests for extensions of time must be timely and should
establish good cause. Overlength briefs are strongly discouraged.

       Please note the provisions of Eighth Circuit Rule 32A governing briefs and reply briefs
responding to multiple briefs.

       On June 1, 2007, the Eighth Circuit implemented the appellate version of CM/ECF.
Electronic filing is now mandatory for attorneys and voluntary for pro se litigants proceeding
without an attorney. Information about electronic filing can be found at the court's web site
www.ca8.uscourts.gov. In order to become an authorized Eighth Circuit filer, you must register
with the PACER Service Center at https://www.pacer.gov/psco/cgi-bin/cmecf/ea-regform.pl.
Questions about CM/ECF may be addressed to the Clerk's office.

        If you have any questions about the schedule or procedures for the case, please contact
our office.

                                                     Michael E. Gans
                                                     Clerk of Court

CAH

Enclosure(s)

cc:      Mr. Timothy J. Ahrenhoersterbaeumer
         Ms. Jessica Andrade
         Mr. Edwin E. Brooks
         Ms. Mariellen Dugan
         Ms. Christina M. Egan
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         Mr. Philip Morrow
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         Mr. Bradley J. Schlozman
         Mr. Robert K. Warren
         Ms. Paige A. Wymore-Wynn
         Mr. Phillip James Richard Zeeck

           District Court/Agency Case Number(s): 4:18-cv-00860-DGK




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Caption For Case Number: 23-2564

United States of America ex rel. Elizabeth D. Holt

             Relator - Appellant

v.

Medicare Medical Advisors, Inc.; Carefree Solutions USA Inc.; Carefree Insurance Inc.; Aetna
Incorporated; Humana, Inc.; UnitedHealthcare Insurance Company

             Defendants - Appellees




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